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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,

               Plaintiff,                      :           Case No. 3:10-cr-167

                                                           District Judge Timothy S. Black
       -vs-                                                Magistrate Judge Michael R. Merz
                                               :
CARLETON ADAMS,

               Defendant.


                            REPORT AND RECOMMENDATIONS


       The above-captioned action was referred to the undersigned under Fed. R. Crim. P. 59 for

waiver of indictment and change of plea proceedings. Defendant orally consented to proceed before

the United States Magistrate Judge for this proceeding.

       The undersigned examined Defendant under oath as to his understanding of the Plea

Agreement and the effect of entering a plea pursuant to that Agreement. Having conducted the

colloquy, the Magistrate Judge is persuaded the Defendant understands the rights waived by entering

a guilty plea and is competent to do so. The Magistrate Judge also concludes that execution of the

Plea Agreement, which occurred in open court, is Defendant’s voluntary, knowing, and intelligent

act. It is therefore respectfully recommended that the Plea Agreement be accepted.

       Defendant having executed the Plea Agreement, he tendered a plea of guilty to Counts 1 and

4 charged in the Indictment. The Magistrate Judge concludes the guilty plea is knowing, intelligent,

and voluntary and that the Statement of Facts made a part of the Plea Agreement, whose truth

Defendant acknowledged, provides a sufficient basis for a finding of guilt. It is therefore respectfully

recommended that the guilty plea be accepted and Defendant be found guilty as charged in Counts
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1 and 4 of the Indictment.

       Anticipating the District Court’s adoption of this Report and Recommendations, the

Magistrate Judge referred the Defendant for a pre-sentence investigation, continued his detention,

and and set sentencing for February 10, at 10:00 A.M. in Courtroom No. 2.

November 17, 2010.

                                                             s/ Michael R. Merz
                                                           United States Magistrate Judge




                             NOTICE REGARDING OBJECTIONS



         Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections
to the proposed findings and recommendations within fourteen days after being served with this
Report and Recommendations. Pursuant to Fed. R. Civ. P. 6(e), this period is automatically
extended to seventeen days because this Report is being served by one of the methods of service
listed in Fed. R. Civ. P. 5(b)(2)(B), (C), or (D) and may be extended further by the Court on timely
motion for an extension. Such objections shall specify the portions of the Report objected to and
shall be accompanied by a memorandum of law in support of the objections. If the Report and
Recommendations are based in whole or in part upon matters occurring of record at an oral hearing,
the objecting party shall promptly arrange for the transcription of the record, or such portions of it
as all parties may agree upon or the Magistrate Judge deems sufficient, unless the assigned District
Judge otherwise directs. A party may respond to another party's objections within fourteen days
after being served with a copy thereof. Failure to make objections in accordance with this procedure
may forfeit rights on appeal. See United States v. Walters, 638 F. 2d 947 (6th Cir., 1981); Thomas
v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed. 2d 435 (1985).




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